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                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

    ARTURO DeLEON-REYES,

                             Plaintiff,
                                                                  Case No. 18 C 1028
            v.
                                                                  Magistrate Judge Sunil R. Harjani
    REYNALDO GUEVARA, et al.,

                             Defendants.
______________________________________________________________________________
    GABRIEL SOLACHE,

                             Plaintiff,
                                                                  Case No. 18 C 2312
            v.
                                                                  Magistrate Judge Sunil R. Harjani
    CITY OF CHICAGO, et al.,

                             Defendants.

                                                        ORDER

       Before the Court is Defendant City of Chicago’s motion for a protective order “to prevent
undue strain of public entities for speculative Monell discovery” [Reyes 503, Solache 355] 1, which
has been fully briefed. Doc. [503, 509, 513, 514, 523, 524, 532, 538]. The Court’s decision
follows.

        First, Defendant’s motion is procedurally improper. To recap, Plaintiff served a subpoena
for criminal defense files from the Cook County Public Defender’s Office (CCPD), and that
motion was extensively briefed and argued, and granted in part. Doc. [470]. Defendant served a
subpoena for corresponding prosecutor files from the Cook County State’s Attorney’s Office
(CCSAO), and that was also fully briefed, argued, and granted in part. Doc. [488]. The issues
raised in Defendant’s motion have already been addressed, and Defendant had every opportunity
to and did brief and argue these issues to the Court. Thus, Defendant’s motion for a protective
order is construed as a motion for reconsideration because it seeks to halt the production of
documents that this Court had previously ordered. In that respect, “motions for reconsideration
are viewed with disfavor, and they are granted only in the rarest of circumstances and where there
is a compelling reason.” United States v. Givens, No. 12 CR 421-1, 2016 WL 6892868, at *2 (N.D.
Ill. Nov. 23, 2016) (internal quotations omitted). Indeed, “[m]otions for reconsideration serve a
limited function; to correct manifest errors of law or fact or to present newly discovered evidence.”
Hicks v. Midwest Transit, Inc., 531 F.3d 467, 474 (7th Cir. 2008) (internal quotation marks

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    The Court will only refer to the docket entries in Reyes going forward.

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omitted). Courts have repeatedly admonished litigants that a “motion to reconsider is not at the
disposal of parties who want to ‘rehash’ old arguments that previously were made and rejected, or
to raise new arguments or evidence that could have been previously offered.” S.E.C. v. Lipson, 46
F.Supp.2d 758, 766 (N.D. Ill. 1998) (citation and quotation marks omitted). In short, “[a] party
moving for reconsideration bears a heavy burden.” Caine v. Burge, 897 F.Supp.2d 714, 716–17
(N.D. Ill. 2012). Defendant here advances no new arguments for the Court to consider. Rather,
Defendant has re-raised issues of burden and relevancy again in this motion, which the Court has
already addressed and ruled upon. The Court has reduced the number of files produced from the
CCPD and the CCSAO to approximately one hundred files from each entity, and shifted the burden
of work and costs to the parties and away from the third-parties. Doc. [471, 488]. In short,
Defendant’s motion was better suited for the other Guevara cases identified in the case-caption of
its motion as the matter had not yet been fully addressed in those cases. In this case, Defendant’s
motion is really a reconsideration of the Court’s prior decisions, and under the heightened standard
for reconsideration motions, the motion can easily be denied.

       Second, Defendant’s motion is essentially moot at this point. While the matter was filed
globally in all Guevara cases, the Reyes and Solache cases are much further along in Monell
discovery. The CCPD has completed its production of files pursuant to Plaintiffs’ subpoena. Doc.
[543]. The CCSAO production is on-going, namely file scanning and privilege review, and will
be completed in January 2022. Doc. [547]. At this time, given the completed production from the
CCPD, the Court would only be considering halting production on the CCSAO subpoena – a
subpoena that was served by Defendant, the movant of this very motion to stop Monell discovery.
The Court fairly assumes that Defendant would vigorously object if it did not receive files from
the CCSAO in order to counter Plaintiffs’ conclusions gleaned from reviewing the CCPD files that
have already been produced. Thus, Defendant’s motion is moot for this reason.

        Third, Defendant’s motion cautions that an excessive production of files from the CCSAO
and the CCPD will result in all Guevara cases, but that has not occurred. While not necessarily
halting all Monell discovery from the CCSAO and CCPD, other judges have relied upon the
production ordered in Reyes and Solache and determined that the documents produced here can
satisfy the needs of Monell discovery in those cases. See Johnson v. Guevara, 20 CV 4156 (N.D.
Ill.), Doc. [129, 130]; Sierra v. Guevara, 18 CV 3029 (N.D. Ill.), Doc. [346]. Thus, the files
ordered by this Court have now taken on additional importance, while also conserving the
resources of the two third-party public entities that are the focus of Defendant’s motion.
Furthermore, other judges have denied production based on individualized circumstances in their
cases. Iglesias v. Guevara, 19 CV 6508, Doc. [167]; Bouto v. Guevara, 19 CV 2411, Doc. [279];
Rodriguez v. Guevara, 18 CV 7951, Doc. [170]. Thus, the parade of horribles anticipated by
Defendant in its motion has not come to fruition, and the purported thousands of files that
Defendant expected would be produced among all Guevara cases has not occurred, which makes
the burden on the third-party entities much less than originally envisioned.

        Fourth, while styled as a protective order, Defendant really seeks to quash the CCPD
subpoena in the Reyes and Solache cases, which in turn will obviate the need for the CCSAO
subpoena. Defendant has no standing to raise issues of burden as a result of these third-party
subpoenas. See Iglesias v. Guevara, 19 CV 6508, Doc. [167, p. 3]. Generally, a party will not
have standing to quash a subpoena to a non-party. Parker v. Four Seasons Hotels, Ltd., 291 F.R.D.

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181, 187 (N.D. Ill. 2013). However, a party may have standing “if the subpoena infringes upon
the movant’s legitimate interests.” United States v. Raineri, 670 F.2d 702, 712 (7th Cir. 1982).
Examples of such legitimate interests have included the assertion of privilege, interference with
business relationships, and the production of private information. Allstate Ins. Co. v. Electrolux
Home Prod., Inc., No. 16-CV-4161, 2017 WL 5478297, at *3 (N.D. Ill. Nov. 15, 2017) (citation
omitted). The CCPD and the CCSAO have raised their own burden concerns, and those have been
fully briefed and addressed in detail by this Court. Doc. [471, 488]. Defendant has no legitimate
interests here and lacks standing. True, courts have recognized that protective orders under Rule
26(c) can provide a basis to parties who lack standing under Rule 45(d) motions to quash. Allstate,
2017 WL 5478297, at *3. But the nature of Defendant’s motion is primarily based on burdens as
a result of third-party subpoenas, and thus it would be an end-run around the standing requirements
to ignore that reality. And, rather ironically, Defendant is partly responsible for the burden it is so
concerned about by issuing its own subpoena for more than a hundred CCSAO files. Contrary to
Defendant’s position, this was not the only option available. Defendant can still independently
challenge the methodology and conclusions reached from Plaintiffs’ review of the CCPD files
even without the CCSAO files. For example, Defendant can and will likely contend that the CCPD
files record-keeping is so poor that a missing document from a file cannot permit the inference that
a document was never produced to criminal defense counsel. Thus, while it is Defendant’s position
that it cannot defeat Plaintiff’s argument without the CCSAO files, that is really a strategic choice
it has made rather than an unshakable truth.

         Finally, the hotly disputed issue about whether any Brady material was suppressed in this
case is an issue that will be decided by the district judge in the anticipated summary judgment
motion, and not here. Plaintiffs have asserted that four poloroid photos of purported alternative
suspects were contained in the CPD homicide files but not in the CCPD file in the underlying case;
that those photographs are Brady material, and that they were suppressed and not produced to
defense counsel in the criminal case. Doc. [532, p. 6]. Defendant vigorously contests whether
these poloroid photos are of alternative suspects, whether they are Brady material, and whether
they even have any evidentiary value. Doc. [523, p. 8]. These are all issues for dispositive motions
and/or trial, and do not lead to a complete prohibition on Monell discovery, as Defendant contends.
This is not a situation where Plaintiffs seeks discovery that has no relevance. Rather, the theory
has been alleged in its complaint, and facts have been provided to the Court that sufficiently
justifies Plaintiffs continuing to pursue Monell discovery. See Johnson v. Guevara, 20 CV 4156 ,
Doc. [130, p. 2] (court held that potential exculpatory police report that was not in the CCSAO
and CCPD files was sufficient to allow Monell discovery to proceed). Ultimately, one party will
succeed on this issue, and it may be that Defendant is correct and it wins the day on summary
judgment on the individual Brady claim and subsequently the Monell claim. But shutting down
Monell discovery now based on a contested evidentiary issue, as Defendant seeks, will essentially
be a finding on the merits of the claim – a wholly inappropriate decision to make in discovery.
And as this Court has already stated, Defendant lost its bifurcation motion, and the consequences
of that decision is to complete individual and Monell discovery before proceeding to dispositive
motions.




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      Accordingly, Defendant’s motion for a protective order is denied.


SO ORDERED.

Dated: December 8, 2021                    ______________________________
                                           Sunil R. Harjani
                                           United States Magistrate Judge




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